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                      UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                       MDL No. 3:16-md-2738-MAS-LHG
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY                         JUDGE MICHAEL A. SHIPP
    LITIGATION                                     MAG. JUDGE LOIS H. GOODMAN



    THIS DOCUMENT RELATES TO:                      Civil Case No. 3:20-cv-03797-MAS-LHG

    DIANA LYNN LIPTON v. JOHNSON &
    JOHNSON, et al.



        MOTION TO SUBSTITUTE PARTY-PLAINTIFF UNDER RULE 25(a)(1)

           Counsel for plaintiff, Diana Lynn Lipton, respectfully move this Court to

    substitute Evelyn Willner, Heidi Moxon Morishita, Linda Moxon, and Bennett Moxon,

    the siblings of, and co-successors-in-interest for, plaintiff Diana Lynn Lipton, now

    deceased, in order to continue the matter as a survival action and to allege claims for

    wrongful death pursuant to Rule 25 of the Federal Rules of Civil Procedure.

           1.     On December 1, 2019, plaintiff Diana Lynn Lipton filed a products liability

    lawsuit in San Francisco Superior Court, Case No. CGC-19-581384. Thereafter, the

    matter was removed to the United States District Court for the Northern District of

    California, Case No. 3:20-cv-01841-JCS. On March 27, 2020, the matter was transferred

    (Conditional Transfer Order – 206) to the United States District Court for the
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    District of New Jersey for coordinated or consolidated pretrial proceedings pursuant to 28

    U.S.C. section 1407. (Member Case Dkt. 14.)

           2.     Diana Lynn Lipton died on December 8, 2022, due to injuries caused by the

    negligent acts and omissions alleged in her original and First Amended Complaints, filed

    in San Francisco Superior Court, as well as in her Short Form Complaint, filed in the

    instant MDL. (Member Case Dkt. 20.) A redacted copy of Ms. Lipton’s Death Certificate

    is attached hereto as Exhibit A.

           3.     A Notice of Suggestion of Death was filed with this Court on August 21,

    2023. (MDL 2738 Dkt. 26784.)

           4.     Diana Lynn Lipton is survived by her four siblings, Evelyn Willner, Heidi

    Moxon Morishita, Linda Moxon, and Bennett Moxon.

           5.     Declarations executed by co-successors-in-interest Evelyn Willner, Heidi

    Moxon Morishita, Linda Moxon, and Bennett Moxon are attached hereto as Exhibits B,

    C, D, and E, respectively, pursuant to California Code of Civil Procedure section 377.32.

           6.     The claims made by Diana Lynn Lipton against Defendants herein survive

    her death. Cal. Code Civ. Proc. § 377.20 (a); Fed. R. Civ. P. 25(a)(1). Under California

    and federal law, the claims against the Defendants may be instituted as if the deceased

    person were still alive. Id.

           7.     Additionally, Diana Lynn Lipton’s surviving siblings, Evelyn Willner,

    Heidi Moxon Morishita, Linda Moxon, and Bennett Moxon, have the capacity to pursue

    individual claims as wrongful death beneficiaries.
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           8.     It is respectfully requested that this Court enter an Order substituting

    Evelyn Willner, Heidi Moxon Morishita, Linda Moxon, and Bennett Moxon as

    co-successors-in-interest for deceased plaintiff, Diana Lynn Lipton, and a wrongful-death

    claimants to allege claims for wrongful death. A proposed Order is attached as Exhibit F.

                         28 2023
           Dated: August ___,                                Respectfully submitted,

                                                             /s / Clarissa E. Kearns
                                                             Clarissa E. Kearns (California
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                                                             Counsel for Plaintiff


                                 CERTIFICATE OF SERVICE

                                                           28 2023, this document was
           The undersigned hereby certifies that on August ___,

    filed and electronically served by way of the CM/ECF filing system. Notice of this

    filing will be served on all parties of record by operation of the ECF system and parties

    may access the filing through the ECF system.


                                                             /s / Clarissa E. Kearns
                                                             Clarissa E. Kearns
